        Case 1:25-cv-01161-TJK            Document 5    Filed 04/16/25      Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 REJON TAYLOR, et al.,

                            Plaintiffs,

                    v.                                          1:25-cv-01161
                                                 Civil Case No. ____________________
 DONALD J. TRUMP, et al., in their official
 capacities,

                            Defendants.


          MOTION FOR ADMISSION PRO HAC VICE OF IAN ROBERTSON

       I am an active member in good standing of the bar of this Court and, pursuant to Local

Civil Rule 83.2(c), hereby move for the admission pro hac vice of Ian Robertson as counsel for

Plaintiffs Rejon Taylor, Norris Holder, Brandon Basham, Wesley Coonce, Brandon Council,

Chadrick Fulks, Thomas Hager, Charles Hall, Richard Jackson, Jurijus Kadamovas, Daryl

Lawrence, Iouri Mikhel, Ronald Mikos, James Roane, Julius Robinson, David Runyon, Ricardo

Sanchez, Richard Tipton, Jorge Torrez, Daniel Troya, and Alejandro Umaña.

       The declaration of Mr. Robertson in support of this motion is attached hereto.


 Dated: April 16, 2025                           Respectfully submitted,
        Washington, DC
                                                 /s/ Carmen Iguina González
                                                 Carmen Iguina González, Bar No. 1644730
                                                 HECKER FINK LLP
                                                 1050 K Street NW, Suite 1040
                                                 Washington, DC 20001
                                                 (202) 742-2661
                                                 ciguinagonzalez@heckerfink.com

                                                 Attorney for Plaintiffs
        Case 1:25-cv-01161-TJK         Document 5        Filed 04/16/25    Page 2 of 2




                                CERTIFICATE OF SERVICE

       I, Carmen Iguina González, certify that I caused a copy of the foregoing Motion for

Admission Pro Hac Vice of Ian Robertson to be served upon all counsel via certified mail on April

16, 2025.


                                                   By: /s/ Carmen Iguina González
                                                      Carmen Iguina González




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